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                                   RELIEF REQUESTED WITHOUT A HEARING



                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MAINE


 IN RE:                                    )
                                           )   Chapter 7
 BLAIR HOUSE ASSOCIATES                    )   Case No. 21-20110
 LIMITED PARTNERSHIP,                      )



          ORDER ON MOTION REQUESTING WRIT OF EXECUTION

       Blair House Associates Limited Partnership filed a motion requesting that

 this Court direct that Rule 7069 apply to this matter and to authorize the Clerk to

 issue a Writ of Execution.

       On February 18, 2022, this Court issued a “Further Order on Request for

 Award of Attorney’s Fees and Punitive Damages” [Doc. 41]. That Order awarded

 Blair House damages in the total amount of $148,000 as against Ellen Hancock,

 Trustee of the Hillman Mather Adams Norberg Trust. Rule 7069 provides that

 Rule 69 of the Federal Rules of Civil Procedure apply; and in turn, Rule 69(a) (1)

 states that a “money judgment is enforced by a writ of execution . . . .” This matter

 is governed by Rule 1018, which incorporates certain rules contained in Part VII

 but its list does not include Rule 7069. Rule 1018 provides, “The court may direct

 that other rules in Part VII shall also apply.”

       In this instance, given the Court’s award of damages, it is appropriate that

 Rule 7069 be made applicable, and the Court hereby directs that such rule is
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 applicable in this matter. Consequently, it is appropriate that the Clerk issue a

 Writ of Execution in the amount of the judgment.

       So ORDERED.

       This Order shall become final in fourteen (14) days unless a party sooner

 objects, in which case the matter shall be set for hearing and considered by the

 Court as if this Order had not been entered.


 Dated: April   , 2022
                                                Peter G. Cary, Chief Judge
                                                U.S. Bankruptcy Court




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